Case 01-01139-AMC Doc 10304-2 Filed 10/22/05 Page 1 of 2

Exhibit 2

43
Case 01-01139-AMC Doc 10304-2 Filed 10/22/05 Page 2 of 2

Attorney: STEINMEYER, AMANDA G
Law Firm: SPEIGHTS & RUNYAN

Claim Number: 11753
Claimant: FULTON GOUNTY HEALTH GENTER,

As described below, certain questions on the Asbestos Property Damage Proof of
Claim Farm require the claimant to provide documents. On the Claim Farm identified
above, the following checked questions were not answered of were not responded to

properly, for the reason(s) stated:

4 Category 1 Claim: OC oategary 1 Comments:
16. Docurnents relating te the purchase and/or installation of the product in ihe property.

OQ] No documents were provided.
OD Documents provided are insufficient because:

18. Documents concerning when the claimant first knew of the presence of asbestos in
the property.

property DO No documents were provided.

M1 Documents provided are insufficient because:

they fail to mdicate cither expressly or from the nature or context of the
document, when the claimant first knew of the presence of asbestos in the

property.
22. Documents conceming efforts to remove, contain and/or abate the Grace product.

No documents were provided.
CO Documents provided are insufficient because:

26. Documents conceming testing or sampling for asbestos in the property.
C1 No documents were provided.
M Documents provided are insufficient because:

building air sarnpie results were net included.

40M Fens:
BMUCID Revis.

44
